       The following cases in which the Court of Appeals issued published opinions have been
appealed to the Supreme Court:

    1. James Willis Campbell, Sr.
        v. Commonwealth of Virginia
        Record No. 1923-15-3
        Opinion rendered by Judge Chafin on
        August 21, 2018

    2. Marie Dolores Jackson
       v. Dennis Michael Jackson
       Record No. 1776-17-4
       Opinion rendered by Judge Petty on
        August 21, 2018
   The following cases in which the Court of Appeals issued published opinions have been
disposed of by the Supreme Court:

1. Emily Lynn Aponte
   v. Commonwealth of Virginia
   Record No. 0052-17-3
   Opinion rendered by Judge Malveaux
    on October 10, 2017
   Dismissed in part pursuant to Rule 5:17(c)(1)(iii) and
   refused in part (171495)

2. Commonwealth of Virginia
   v. Shawn Lynn Botkin
   Record No. 0458-17-3
   Opinion rendered by Judge Petty
    on October 24, 2017
   Judgment of Court of Appeals affirmed and remanded to this Court for remand
    to the trial court for resentencing by opinion rendered on November 1, 2018 (171555)

3. Damien Cameron Spencer
   v. Commonwealth of Virginia
   Record No. 0525-17-3
   Opinion rendered by Judge O’Brien
    on November 14, 2017
   Refused (180104)

4. Raymeka Monique White
   v. Commonwealth of Virginia
   Record No. 1991-16-2
   Opinion rendered by Judge Decker
    on December 5, 2017
   Refused (171768)

5. Barry Justin Levenson
   v. Commonwealth of Virginia
   Record No. 1884-16-4
   Opinion rendered by Judge Petty
    on December 12, 2017
   Refused (180036)

6. Michael Anthony Edwards
   v. Commonwealth of Virginia
   Record No. 0902-16-2
   Opinion rendered by Judge Alston
    on December 19, 2017
   Refused (180092)
7. John Allen Baugh, Jr.
    v. Commonwealth of Virginia
   Record No. 0152-17-2
    Opinion rendered by Judge Malveaux
     on January 30, 2018
    Refused (180287)

8. Denise Hawkins
   v. Darla Grese
   Record No. 0841-17-1
   Opinion rendered by Judge Humphreys
    on February 13, 2018
   Refused (180367)

9. Lamar Shelton Brown
   v. Commonwealth of Virginia
   Record No. 0184-17-2
   Opinion rendered by Judge Beales
    on March 20, 2018
   Refused (180466)
               The Supreme Court issued opinions in the following cases, which had been appealed from
this Court

             1. Nicholas Secret, a/k/a etc.
                v. Commonwealth of Virginia
                Record No. 0853-15-2
                Memorandum opinion rendered by Judge AtLee on February 14, 2017
                Judgment of Court of Appeals affirmed by opinion rendered on
                 October 11, 2018
                (170540)

             2. Dese Terrell Johnson
                v. Commonwealth of Virginia
                Record No. 1525-16-2
                CAV petition for appeal denied by Judge Beales on March 23, 2017
                  and by Judges Humphreys, Decker and O’Brien on June 19, 2017
                Judgment of Court of Appeals affirmed by opinion rendered on
                 October 18, 2018
                (170963)

             3. Amanda Marie Thomas
                v. Commonwealth of Virginia
                Record No. 0437-16-3
                Memorandum opinion rendered by Judge Chafin on April 27, 2017
                Judgment of Court of Appeals reversed and matter remanded for entry of
                 a new sentencing order by opinion rendered on October 18, 2018
                (170707)
